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EXHIBIT 5
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BRYAN BOIGRIS AUGUST 15, 2017

 

 

Page 1
Bryan Boigris August 15, 2017
1 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
2
3
4 OPPOSITION NO. 91231985
5
EWC P&T, LLC,
6
Opposer,
7
vs.
8
BRYAN BOIGRIS,
9
Defendant.
10
/
11
12
13 2800 Southwest Third Avenue
Miami, Florida
14 Tuesday, August 15, 2017
10:29 a.m. to 3:14 p.m.
L5
16
17 VIDEOTAPED DEPOSITION OF BRYAN BOIGRIS
18
19 Taken before Marlene Gutierrez, Notary
20 Public, State of Florida at Large, pursuant to Notice of
21. Taking Deposition filed in the above cause.
22 s+ = = # &
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24
25

 

 

 

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BRYAN BOIGRIS AUGUST 15, 2017

 

Page 2

APPEARANCES
OLIVER ALAN RUIZ, ESQ.
JONATHAN WOODARD, ESQ.

3 Malloy & Malloy, P.L.
2800 Southwest Third Avenue
4 Miami, Florida 33129

Oruiz@malloylaw.com
On behalf of the Opposer.
PATRICK G. DEMPSEY, ESQ.
Hirzel, Dreyfuss & Dempsey, PLLC
7 2333 Brickell Avenue
Suite A-1
8 Miami, Floida. 33129
Dempsey@hddlawfirm.com
9 On behalf of the Applicant.
10 ALSO PRESENT:
11 CHRISTIAN HERNANDEZ, Videographer.

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BRYAN BOIGRIS AUGUST 15, 2017

 

 

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the subject of this proceeding, had you had any
communications with any marketing agencies or
advertisers with respect to these types of products?

A No, I did not.

Q Prior to filing the applications that are the
subject of the proceeding, did you have any
communications with -- regarding possible financing for
this business?

A No, I did not.

Q Prior to filing these applications that are the
subject of this proceeding, had you had any
communications with any graphic designers about logos or
anything else related to these products?

A I did not have an opportunity.

Q Okay. Prior to filing the applications that
are the subject of this proceeding, had you inquired or
looked into the regulations that control or may control
cosmetics?

MR. DEMPSEY: Object to form.
THE WITNESS: I don't recall.
BY MR. RUIZ:

Q Prior to April 29, 2016, you had never sold
cosmetic products; correct?

A I don't recall.

Q Prior to April 29, 2016 -- and maybe the

 

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